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                                                               Friday, 04 December, 2020 10:45:41 AM
                                                                          Clerk, U.S. District Court, ILCD

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        After a six-week bench trial in 2016, in June 2017, this Court issued a final

judgment finding DISH Network L.L.C. liable for millions of telemarketing call

violations, imposing injunctive relief in the form of compliance and reporting measures,

and awarding the Plaintiffs a total of $280 million: $168,000,000 for the United States,

$53,256,000 for the State of California, $17,388,000 for the State of Illinois, $18,648,000

for the State of North Carolina, and $22,708,000 million for the State of Ohio. United

States v. Dish Network LLC, 3:09-cv-03073-SEM-TSH, at Dkt. No. 797 (C.D. Ill. Jun. 5,

2017), reported at 256 F. Supp. 3d 810 (C.D. Ill. 2017). DISH Network L.L.C. appealed

the judgment to the United States Court of Appeals for the Seventh Circuit, which

vacated the $280 million award and remanded back to this Court "for further proceedings

consistent with this opinion" that the analysis for the monetary award should "start from

harm rather than wealth." United States v. Dish Network LLC, 954 F.3d 970, 980 (7th

Cir. 2020).

        The parties now seek to settle only the monetary relief portion of this case. The

injunctive relief ordered by this Court remains in place and unaffected by this settlement.

The Plaintiffs and DISH Network L.L.C. therefore stipulate to the entry of this Stipulated

Order for Monetary Judgment ("Order") to resolve all disputes regarding the monetary

relief to be awarded to Plaintiffs in this case.

        THEREFORE, it is ORDERED as follows:

                                        I.    FINDINGS

        A.      This Court has jurisdiction over this matter.

        B.      The Complaint alleges that Defendant participated in acts or practices in

violation of Section 5 of the FTC Act, 15 U .S.C. § 45, the Telemarketing Sales Rule, the



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TCP A and its related rules, and various state laws by making telemarketing calls to

numbers on the National Do Not Call Registry, abandoning calls, using automated voice

telemarketing, and assisting others in these violations.

        C.      Defendant waives any claim that it may have under the Equal Access to

Justice Act, 28 U.S.C. § 2412, concerning the prosecution ofthis action through the date

of this Order. Each party agrees to bear its own costs and attorneys' fees.

        D.      The parties waive all rights to appeal or otherwise challenge or contest the

validity of this Order.

        E.      Entry of this Order is in the public interest.

                             II.    MONETARY JUDGMENT

        A.      Judgment in the amount of $126 million ($126,000,000.00) is entered in

favor of Plaintiff the United States against DISH Network L.L.C. as a civil penalty

pursuant to the FTC Act.

        B.      Judgment in the amount of $39,942,000.00 is entered in favor of Plaintiff

the State of California against DISH Network L.L.C. as a payment in accordance with the

TCP A. This entire amount shall be deposited in the Public Rights Law Enforcement

Special Fund established by Section 12530 of the California Government Code and used

in accordance with that section to support the investigation and prosecution of matters

within the authority of the Department of Justice's Public Rights Division.

        C.     Judgment in the amount of $13,041,000.00 is entered in favor of Plaintiff

the State of Illinois against DISH Network L.L.C. as a payment in accordance with the

TCPA.




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       D.      Judgment in the amount of $13,986,000.00 is entered in favor of Plaintiff

the State of North Carolina against DISH NetworkL.L.C. as a payment in accordance

with the TCP A.

       E.      Judgment in the amount of $17,031,000.00 is entered in favor of Plaintiff

the State of Ohio - Office of the Attorney General against DISH Network L.L.C. as

a payment in accordance with the TCP A.

       F.      Such payment must be made within 30 days of entry of this Order in

accordance with instructions previously provided by Plaintiffs' representatives:

               1.     Make the following payment to the United States:

                      a.      A payment of$126,000,000.00 in the form of a wire

                              transfer to the Treasurer of the United States; and

                      b.      The written confirmation of the wire transfer shall be

                              delivered via email to: Lisa K. Hsiao, Assistant Director,

                              Consumer Protection Branch, U.S. Department of Justice,

                              450 5th Street, N.W. Suite 6400-South, Washington, DC

                              20530, Lisa.K.Hsiao@usdoj.gov. The wire transfer

                              transmittal shall include the title of this litigation and a

                              reference to DJ #102-3417.

               2.     Make the following payment to the State of California:

                      a.      A payment of $39,942,000.00 payable by wire transfer to

                              the California Attorney General's Office pursuant to

                              instructions provided by the California Attorney General's

                              Office. DISH Network is responsible for any bank charges



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              it may incur for processing wire transfers. This payment

              shall be deposited in the Public Rights Law Enforcement

              Special Fund.

3.     Make the following payment to the State of Illinois:

       a.     A payment of$6,520,500.00 in the form of a wire transfer

              or certified or cashier's check made payable to or deposited

              into the "Attorney General Court Ordered and Voluntary

              Compliance Payment Projects Fund" for subsequent

              expenditure as authorized by the Attorney General; and

       b.     A payment of$6,520,500.00 in the form of a wire transfer

              or certified cashier's check made payable to or deposited

              into the "Attorney General's State Projects and Court

              Ordered Distribution Fund" for subsequent expenditure as

              authorized by the Attorney General; and

       c.     The check or written confirmation of the wire transfer shall

              be provided via email to:

                      Elizabeth Blackston
                      Chief, Consumer Fraud Bureau
                      Office of the Attorney General
                      eblackstonraatg..state.ii. us
                                   1




4.     Make the following payment to the State of North Carolina:

       a.     A payment of$13,986,000.00 by wire transfer to the North

              Carolina Department of Justice; and

       b.     Written confirmation of the wire transfer shall be provided

              vial email to:


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                     Kevin Anderson
                     Senior Deputy Attorney General
                     Consumer Protection Division
                     N.C. Department of Justice
                     kander@ncdoj.gov

5.     Make the following payment to the State of Ohio - Office of the

Attorney General:

       a.     A payment of$17,031,000.00 in the form ofa wire transfer

              payable to the State of Ohio Office of the Attorney

              General. Said payment shall be used for reimbursement of

              attorney fees and other costs of investigation; distribution

              or application to any applicable consumer protection

              enforcement funds, including future consumer protection

              enforcement, consumer education, litigation or local

              consumer aid, or revolving funds; defraying the costs of the

              inquiry leading hereto; or any other lawful purpose, at the

              sole discretion of the Ohio Attorney General.

       b.     The written confirmation of the wire transfer shall be

              delivered via email to:

                     Erin B. Leahy
                     Senior Assistant Attorney General
                     Consumer Protection Section
                     Ohio Attorney General's Office
                     30 East Broad St., 14th Floor
                     Columbus, OH 43215
                     Erin.Leahv((}QhioAttorneyGeneral. gov




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                          III.    ADDITIONAL PROVISIONS

        IT IS FURTHER ORDERED that:

        A.      Defendant relinquishes dominion and all legal and equitable right, title,

and interest in all assets transferred pursuant to this Order and may not seek the return of

any assets.

        B.      In any subsequent civil litigation by or on behalf of any Plaintiff to

enforce its rights to any payment or monetary judgment pursuant to this Order, Defendant

will not contest the factual and liability findings in this Court's opinion set forth in

United States v. Dish Network LLC, 3:09-cv-03073-SEM-TSH, at Dkt. No. 797 (C.D. Ill.

Jun. 5, 2017), reported at 256 F. Supp. 3d 810 (C.D. Ill. 2017), and those findings will be

taken as true, without further proof.

        C.      Defendant acknowledges that its Taxpayer Identification Number, which

Defendant must submit to Plaintiffs, may be used for collecting and reporting on any

delinquent amount arising out of this Order, in accordance with 31 U.S.C. § 7701.

        D.      DISH Network and the State Co-Plaintiffs agree that the entirety of the

monetary judgment paid by DISH Network to the State Co-Plaintiffs constitutes a

payment in accordance with the TCPA, as well as that it represents a compromise

between DISH Network and the State Co-Plaintiffs that is based on the Court's original

monetary awards to the State Co-Plaintiffs, and does not include a multiplier or

constitute common-law punitive damages.

                                  IV. DEFAULT PROVISIONS

        IT IS FURTHER ORDERED that, in the event of default on the payments

required to be made by this Order, the entire unpaid civil penalty and/or other judgment

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SO STIPULATED AND AGREED:

PLAINTIFFS:


OF COUNSEL:                                      FOR THE UNITED STATES:

LOIS C. GREISMAN                                 JEFFREY BOSSERT CLARK
Associate Director for Marketing Practice;       Acting Assistant Attorney General
                                                 DANIEL FEITH
RUSSELL DEITCH                                   Deputy Assistant Attorney General
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                                                 202-532-4723 (Runkle)
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FOR THE PEOPLE OF THE STATE OF                   FOR THE STATE OF OHIO:
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Attorney General of the State of California Attorney General of Ohio


s/ Jinsook Ohta                              s/ Erin B. Leah1·
JINSOOK OHTA                                 ERIN B. LEAHY
JONF. WORM                                   JEFFREY LOESER
Supervising Deputy Attorneys General         Assistant Attorneys General
Consumer Protection Section                  Consumer Protection Section
Office of the Attorney General               Ohio Attorney General's Office


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FOR THE PEOPLE OF THE STATE OF      FOR THE STATE OF NORTH
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ELIZABETH BLACKSTON
Chief, Consumer Fraud Bureau
                                    s/ Kevin Anderson
                                    KEVIN ANDERSON
s/ Philip Heimlich                  Senior Deputy Attorney General
PHILIP HEIMLICH                     TERESA TOWNSEND
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DEFENDANT:

                                     FOR DISH Network L.L.C.:

                                      s/ Timothy A. Messner
s/ Eh •se D. Echtman
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